     Case 2:13-cr-06070-SAB               ECF No. 93        filed 05/29/24        PageID.321          Page 1 of 4
 PROB 12C                                                                                 Report Date: May 29, 2024
(6/16)
                                                                                               FILED IN THE
                                       United States District Court                        U.S. DISTRICT COURT
                                                                                     EASTERN DISTRICT OF WASHINGTON


                                                       for the
                                                                                      May 29, 2024
                                                                                          SEAN F. MCAVOY, CLERK
                                          Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Kenneth Richard Rowell                    Case Number: 0980 2:13CR06070-SAB-1
 Address of Offender:                              Pasco, Washington 99301
 Name of Sentencing Judicial Officer: The Honorable Wm. Fremming Nielsen, Senior U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Stanley A. Bastian, Chief U.S. District Judge
 Date of Original Sentence: May 19, 2014
 Original Offense:        Distribution of a Controlled Substance - Methamphetamine, 21 U.S.C. § 841(a)(1),
                          (b)(1)(B)(viii)
 Original Sentence:       Prison - 120 months                Type of Supervision: Supervised Release
                          TSR - 8 years
 Asst. U.S. Attorney:     Earl A. Hicks                      Date Supervision Commenced: May 10, 2022
 Defense Attorney:        Juliana Van Wingerden              Date Supervision Expires: May 9, 2030


                                           PETITIONING THE COURT

To issue a warrant.

On May 13, 2022, all the conditions of supervised release were reviewed with Mr. Rowell. He signed a copy of his
conditions, and was provided with a copy. He was referred to Merit Resource Services (Merit) for substance abuse
treatment and for random drug testing. Mr. Rowell was instructed to call the color line program at Merit daily,
Monday through Friday, and to report to Merit for drug testing when his assigned color is called.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            1           Special Condition # 16: You must abstain from the use of illegal controlled substances, and
                        must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                        no more than 6 tests per month, in order to confirm continued abstinence from these
                        substances.

                        Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                        release by failing to submit a valid urinalysis by having tampered with drug testing on or
                        about April 25, 2024.

                        On April 25, 2024, Mr. Rowell reported to Merit for drug testing as required. Merit staff sent
                        this drug test to Abbott Laboratory. The probation office later received the drug test report
                        from Abbott Laboratory on May 6, 2024, confirming a dilute result for specific gravity,
   Case 2:13-cr-06070-SAB       ECF No. 93          filed 05/29/24        PageID.322        Page 2 of 4
Prob12C
Re: Rowell, Kenneth Richard
May 29, 2024
Page 2

                which confirmed this drug test was tampered with and was invalid. Later, during an office
                visit on May 28, 2024, Mr. Rowell admitted to the undersigned officer to having used baking
                soda and water in efforts to hide his drug use.


          2     Special Condition # 16: You must abstain from the use of illegal controlled substances, and
                must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                no more than 6 tests per month, in order to confirm continued abstinence from these
                substances.

                Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                release by consuming a controlled substance, methamphetamine, on or about May 7, 2024.

                On May 7, 2024, Mr. Rowell completed a drug test at Merit. This drug test was sent to
                Abbott Laboratory. The probation office later received the drug test report from Abbott
                Laboratory confirming a positive result for methamphetamine. It should also be noted this
                drug test report also confirmed a dilute result for creatinine and specific gravity.

                On May 28, 2024, Mr. Rowell admitted to the undersigned officer to having used
                methamphetamine on an ongoing basis. In addition to using baking soda, as mentioned above
                in violation 1, he also admitted to consuming cranberry juice in efforts to hide his drug use,
                as he advised cranberry juice would not change the color of the urine sample.


          3     Special Condition # 16: You must abstain from the use of illegal controlled substances, and
                must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                no more than 6 tests per month, in order to confirm continued abstinence from these
                substances.

                Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                release by consuming a controlled substance, cocaine, on or about May 7, 2024.

                As noted in violation 2, on May 7, 2024, Mr. Rowell completed a drug test at Merit. This
                drug test was sent to Abbott Laboratory. The drug test report confirmed a positive result for
                cocaine. Mr. Rowell later admitted to the undersigned officer to having used cocaine.


                Special Condition # 16: You must abstain from the use of illegal controlled substances, and
          4     must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                no more than 6 tests per month, in order to confirm continued abstinence from these
                substances.

                Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                release by failing to report for mandatory drug testing on or about May 16, 2024.

                On May 16, 2024, Mr. Rowell’s assigned color for the color line program at Merit was
                called. The defendant failed to report to Merit for drug testing as required on this date. Mr.
                Rowell admitted to the undersigned officer he failed to report for drug testing on May 16,
                2024, and stated he must have forgot to check the color line program at Merit.
   Case 2:13-cr-06070-SAB       ECF No. 93          filed 05/29/24        PageID.323        Page 3 of 4
Prob12C
Re: Rowell, Kenneth Richard
May 29, 2024
Page 3

          5     Standard Condition # 2: The defendant shall report to the probation officer in a manner
                and frequency directed by the court or probation officer.

                Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                release by failing to report to the probation office as instructed on or about May 23, 2024.

                On May 23, 2024, at approximately 1:45 p.m., the undersigned officer called Mr. Rowell,
                he did not answer his phone, and a voice message was left instructing him to report on this
                same date to the probation office by 3 p.m.

                Mr. Rowell failed to report as directed on May 23, 2024. He did not attempt to make contact
                with this officer. Later on May 28, 2024, Mr. Rowell admitted to receiving the reporting
                instructions, but he had been sleeping due to his ongoing drug use.


          6     Special Condition # 16: You must abstain from the use of illegal controlled substances, and
                must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                no more than 6 tests per month, in order to confirm continued abstinence from these
                substances.

                Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                release by consuming a controlled substance, cocaine, on or about May 27, 2024.

                On May 28, 2024, Mr. Rowell admitted to the undersigned officer to having used cocaine
                the day before, on May 27, 2024.
          7     Special Condition # 16: You must abstain from the use of illegal controlled substances, and
                must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                no more than 6 tests per month, in order to confirm continued abstinence from these
                substances.

                Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                release by consuming a controlled substance, methamphetamine, on or about May 27, 2024.

                On May 28, 2024, Mr. Rowell admitted to the undersigned officer to having used
                methamphetamine, on May 27, 2024.


          8     Special Condition # 17: You must abstain from alcohol and shall submit to testing
                (including urinalysis and Breathalyzer), as directed by the supervising officer, but no more
                than six tests per month, in order to confirm continued abstinence from this substance.

                Supporting Evidence: Mr. Rowell is considered to be in violation of his term of supervised
                release by having consumed alcohol, on or about May 27, 2024.

                On May 28, 2024, Mr. Rowell admitted to the undersigned officer to having consumed
                alcohol, on May 27, 2024.
Case 2:13-cr-06070-SAB   ECF No. 93   filed 05/29/24   PageID.324   Page 4 of 4
